         Case 2:20-cv-02002-DJH Document 9 Filed 10/29/20 Page 1 of 1



Phoenix Professional Services
4848 E Cactus Road. Ste. 505-84
Scottsdale. A2 85254
(480) 361-9959 © 2001 PPS




                                                 “TAT
                                  IN THE UNITED S tr\ I ES DISTRIC I COURT
                                   IN AND FOR THE DISTRICT OF ARIZONA

 TODD SCHWARTZ, a married man.
                                                           Plaintiff
 vs.                                                                              CASE NO. 2:20-cv-02002-
                                                                                          DJH
 4 EVER LIFE INTERNATIONAL LIMITED dba 4 EVER LIFE
 INSURANCE COMPANY: an Illinois corporation: BLUE
 CROSS AND BLUE SHIELD OF ARIZONA. INC., an Arizona                             CERTIFICATE OF SERVICE
 non-profit corporation; and BLACK and WHITE                                         OF PROCESS
 CORPORATIONS l-X.
                                                          Defendant.

       I . the Affiant, certify under penalty of perjury that I am fully qualified to serve process in this case,
having been so appointed by the Court that I have received and served the following documents in the
manner set forth below:
RECEIVED FROM            Tiffany & Bosco. PA.
DATE RECEIVED            October 26, 2020
DOCUMENTS:               Summons, First Amended Complaint. Certificate of Compulsory Arbitration, Notice
                         of Removal: Order Setting Rule 16 Schedule Conference, Notice of Availability of
                         US Magistrate Judge; Order:
UPON                     Worldwide Insurance Services, LLC             c/o Corporation Service Company, as
                         Statutory Agent
ADDRESS                  8825 N 23rd Avenue. Ste 100, Phoenix. A2 85021
MANNER                   Personally hand-delivered said documents to Shanda Kelly, a person authorized to
                         accept at her usual place of employment.
DATE:                    October 27. 2020                                     TIME. 2.56 PM
DESCRIPTION              Caucasian female age 44, height 57, brown hair



        1 certify under penalty of perjury that the foregoing is true and correct



                                                                                                       Z
                                                                       AffianFEdwirdPuTiey
Dated this 2-*9-hkday of C>Gr~h-                . 2020.                Registered: Maricopa County

Service                       16 00
Travel miles      12          28 SO
Attempt miles      0           0 00
Attempt miles      0           0 00
Attempt miles      0           0 00
Other                          0 00
Cert Prep fee                  8 00
                              52 80

RCG/im - 237775-001
